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 UNITED STATES DISTRICT COURT                                        FOR PUBLICATION
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                              :
                                                       :
                  -against-                            :             MEMORANDUM DECISION
                                                       :
 DAYANA MENDOZA and                                    :             09-CR-292 (JG)
 JINNATE JONES,                                        :
                                                       :
                            Defendants.                :
 ------------------------------------------------------x

 A P P E A R A N C E S:

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 JOHN GLEESON, United States District Judge:

                  This case illustrates the need for legislation that clearly authorizes payment for

 housing and subsistence for indigent out-of-town defendants during federal criminal trials.
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                Dayana Mendoza and Jinnate Jones live in California, and they were charged with

 a federal crime in an indictment filed here in Brooklyn. Neither was a danger to the community

 or a flight risk, so they were released on bail. They had insufficient means to afford legal

 representation, so each was provided with a court-appointed lawyer. As their trial neared, they

 sought funds so that they could stay somewhere in the New York area for the two weeks that the

 prosecutors estimated the trial was going to last. As far as I was concerned, the only question

 was who should pay for their lodging. After considering various options and submissions from

 interested parties, I concluded that the only real option I had was to authorize payment from

 Criminal Justice Act (“CJA”) funds, whose purpose is to provide legal representation for

 indigent defendants. I chose this source of funds reluctantly. I write to explain my reasons for

 the decision and for my reluctance.

                Mendoza is a single mother who lives in the Bay Area with her infant daughter.

 Jones also lives near San Francisco, and has a young son. They came to the attention of the

 United States Attorney in the district because of their involvement with a fraudulent enterprise

 named Apogee Financial. Apogee purported to sell to its clients “Proof of Funds” letters

 indicating that the clients held money in accounts with well-known banks. In fact, the letters

 were fakes and the accounts did not exist. Apogee’s headquarters were in an office building in

 Detroit. To bolster the fraud, Apogee employed “gatekeepers” to recruit people who worked in

 banks in New York and California. The role of the bank employees – of whom Mendoza and

 Jones were two – was to accept phone calls and say that the fake letters on their employers’

 letterheads were real. Mendoza worked at a Wells Fargo branch in Emeryville, California and

 received $23,000 for her role in the fraud. Jones, who got $6,000, worked at a Wells Fargo

 branch in Pittsburg, California.



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                   Mendoza and Jones were charged with conspiracy to commit wire fraud in a nine-

 defendant superseding indictment.1 Their co-defendants were Aisha Hall (from Detroit), the

 CEO of Apogee; Yolande Reeves (Detroit), Hall’s assistant; Jerjuan Gardner (Detroit) and

 Marcel Asbell (Detroit), members of the sales force; Jack Horbulewicz (Chicago), Apogee’s in-

 house forger; and two “gatekeepers,” Walter Brown (California) and Quiana Ganter (California).

 None of the nine defendants was from the Eastern District of New York, but the indictment

 alleged that acts in furtherance of the conspiracy took place in this district, thereby providing a

 sufficient basis for venue here.2

                   By the time they were indicted, Mendoza and Jones had lost their jobs at Wells

 Fargo. Given their financial situations, they were appointed counsel under the CJA. They were

 released on unsecured bonds and for the most part stayed in California during the pre-trial phase

 of the case. Mendoza, who received no child support from her child’s father, was in particularly

 difficult financial straits. She appeared by telephone to be arraigned on the superseding

 indictment, but I required her presence at a status conference on September 8, 2009. Because

 Mendoza could not afford a cross-country plane ticket, I ordered the United States Marshals

 Service to arrange for her to travel to Brooklyn pursuant to 18 U.S.C. § 4285. I did the same to

 enable her presence at oral argument on her pre-trial motions on January 29, 2010.

                   Before the trial, Mendoza requested a change of venue to the Eastern District of

 California, where all the acts she was accused of took place. I denied the motion. The

 conspiracy with which Mendoza was charged included activities in various parts of the country,


          1
                   Jones was also charged with a substantive wire fraud count.
          2
                   In addition to the nine defendants under the 09-CR-292 docket number, the government also
 brought charges in this district against other conspirators, some of whom testified as cooperating witnesses at
 Mendoza’s and Jones’s trial. One of these, Edward Gordon, was a bank employee from New York.


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 including the Eastern District of New York, and the government was entitled to bring the case

 against Mendoza and her co-defendants here. All the same, the roster of defendants to be tried

 experienced the usual attrition, and by the time of trial, what was left to be tried had only a

 tenuous connection to New York. Specifically, of the nine defendants who were initially

 indicted, seven pled guilty; only Mendoza and Jones exercised their right to a trial.

                Two weeks prior to the trial, Mendoza’s counsel sought an order requiring the

 United States Marshals Service to arrange lodging and subsistence for Mendoza during the trial.

 At the time, this seemed like an obviously meritorious request. Mendoza is required by Federal

 Rule of Criminal Procedure 43(a) to be present “at every trial stage.” It would be unseemly for

 our criminal justice system to haul a defendant across the country and require her to live on the

 street during her criminal trial. But finding an acceptable way to provide a roof over Mendoza’s

 head proved surprisingly difficult.

                The United States Marshals Service is the most logical arm of the government to

 bear the responsibility. The Marshal transports indigent out-of-town defendants to court, and is

 already obligated to pay for lodging and subsistence for out-of-town witnesses. See 28 U.S.C.

 § 1821. The Marshals Service, however, denied any legal responsibility to provide Mendoza

 lodging and subsistence during the trial. When pressed, the Marshal made the only offer he

 could: a bed in the Metropolitan Detention Center, a suggestion that was unacceptable on its

 face. I would not remand an indigent defendant who is compliant with her bail conditions

 simply because of her inability to pay for her own lodging.

                As a matter of statutory interpretation, the Marshal’s view of his responsibilities is

 unfortunately the only reasonable one. 18 U.S.C. § 4285 provides that when an indigent

 defendant is released pending a court appearance, a judge “may, when the interests of justice



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 would be served thereby” direct the Marshal to arrange for or pay for transportation “to the place

 where his appearance is required” and “furnish [defendant] with an amount of money for

 subsistence expenses to [her] destination, not to exceed the amount authorized as a per diem

 allowance for travel under section 5702(a) of title 5, United States Code.” One defect in the

 statutory language is that it authorizes only an order directing the Marshal to transport defendants

 to court. To its credit, the Marshals Service often requests (and complies with) court orders

 requiring it to arrange to send defendants back to their homes after a court appearance, even

 though the language of § 4285 does not require it to do so. Another statutory defect is the

 absence of judicial authority to require payment for lodging or food during a trial. Though the

 phrase “subsistence expenses to [her] destination” is somewhat opaque, the legislative history of

 § 4285 makes clear that it only authorizes the payment of subsistence expenses “for the time

 during which the defendant is actually travelling.” See H.R.Rep. No. 95-1653, 95th Cong., 2d

 Sess. at 3 (1978) (“Subsistence shall terminate upon arrival at the defendant’s destination and

 shall not continue throughout the defendant’s stay at that destination.”). The courts that have

 considered this question have agreed with the Marshals Service’s interpretation of the statute.3

                  But if the Marshals Service does not have to provide Mendoza with lodging, who

 does? Pretrial Services, under whose supervision Mendoza was placed when she was released

 on bail, is another contender. The Pretrial Services Act defines “[p]retrial services functions” to

 include:

                  Operate or contract for the operation of appropriate facilities for the custody or
                  care of persons released under this chapter including residential halfway houses

        3
                     See, e.g., United States v. Gundersen, 978 F.2d 580, 584 (10th Cir. 1992) (holding that § 4285
 “does not authorize payment of subsistence during the period of trial” and that it “authorizes payment only for the
 travel to court and subsistence during the period of travel”); United States v. Sandoval, 812 F. Supp. 1156 (D. Kan.
 1993) (same). One court has gone so far as to suggest that I could be prosecuted under the Anti-Deficiency Act if I
 were to order payment for lodging under § 4285. See United States v. Nave, 733 F. Supp. 1002, 1003 (D. Md. 1990)
 (noting that this situation “might mildly amuse some” but “ought to be avoided, if possible”).

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                . . . and contract with any appropriate public or private agency or person, or
                expend funds, to monitor and provide treatment as well as nontreatment services
                to any such persons released in the community, including equipment and
                emergency housing . . . and other services reasonably deemed necessary to protect
                the public and ensure that such persons appear in court as required.

 18 U.S.C. § 3154(4) (emphasis added).

                The government contended that this language requires Pretrial Services to provide

 Mendoza with food and shelter. Some courts have accepted this argument. Candidly straining

 the language of the statute to avoid what it considered a serious constitutional difficulty, the

 Tenth Circuit held that “[a] reasonable construction of [the Pretrial Services Act] . . . is that the

 [A]ct requires the Agency to provide food and shelter for persons in defendants’ position who

 can establish genuine need.” Gundersen, 978 F.2d at 584. The Court acknowledged that the

 housing provided by Pretrial would be in a halfway house or an addiction treatment facility,

 where the defendant’s liberties would be strictly controlled. “Nothing in the Constitution,” the

 court wrote, “prevents the government from exercising cost control or requires that monies be

 handed to indigents to allow them to obtain food and housing of their own choice.” Id. at 585.

 The choice then, “is not ‘custody’ versus freedom but rather a choice between fending for

 themselves (and foregoing any claim for food and housing) and accepting housing in available

 government facilities with such restrictions as are necessary for institutional purposes.” Id.

                Though I sympathize with the Tenth Circuit’s effort to find a solution to this

 problem, placing the responsibility on Pretrial Services requires an overbroad reading of the

 statute defining its functions. The language in 18 U.S.C. § 3154(4) upon which the government

 relies – “other services reasonably necessary to … ensure that [Mendoza] appear[s] in court as

 required” – appears at the end of a long list of functions concerning the pretrial supervision of

 released defendants to which this purported function is unconnected. The government’s view

 runs counter to two well-established canons of statutory interpretation: ejusdem generis, that “a
                                                    6
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 general term should be understood in light of the specific terms that surround it,” Hughey v.

 United States, 495 U.S. 411, 419 (1990); and noscitur a sociis, which “counsels that a word is

 given a more precise content by the neighboring words with which it is associated.” United

 States v. Williams, 553 U.S. 285, 295 (2008). In addition, the government’s argument proves too

 much. If the obligation to “ensure” that defendant “appear in court” is read broadly enough to

 require Pretrial Services to house the defendant during trial, it would seem to require the agency

 to transport the defendant to court as well, a construction that would render 18 U.S.C. § 4285

 superfluous.

                Even aside from the statutory language, I cannot accept that “the indigent

 defendant must either rely, for food and shelter, upon the kindness of friends or strangers, or

 make arrangements through the Pre-Trial Services Agency for lodging in some appropriate

 facility, such as a half-way house.” Nave, 733 F.Supp. at 1002. Although a less odious solution

 than jail, I do not see a halfway house as appropriate lodging for a defendant released on bail

 pending trial. Neither does Pretrial Services, which, upon my request, commented on the

 government’s view. According to the Chief Pretrial Services Officer for this district, “halfway

 houses are not widely used as an alternative to detention for defendants released on pre-trial

 supervision.” Memorandum from Cynthia Lawyer dated February 19, 2010, at 1. Because such

 facilities, which have strict rules, serve as “transitional facilities” primarily for offenders “who

 are in the process of reentering the community,” and because the “admittance process can be

 complex, and oftentimes lengthy … [Mendoza] would not be an appropriate candidate to be

 admitted into a halfway house for the sole purpose of providing temporary housing.” Moreover,

 forcing a defendant to submit to restrictions on her liberty, either in a halfway house or in jail, as




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 a condition of asserting her constitutional right to a trial would be a serious and in my view

 unacceptable burden on that right.

                Another possible option is to require the government to pay for the out-of-town

 defendant’s lodging as a matter of due process. Then-District Judge Pierre Leval did just that in

 the “Pizza Connection” case. See United States v. Badalamenti, No. 84 Cr. 236 (PNL), 1986 WL

 8309 (S.D.N.Y. Jul. 22, 1986). Judge Leval agreed that the Marshals Service could not be

 required to pay under § 4285, but reasoned that “it is not consistent with fundamental fairness or

 due process that an accused defendant, regardless of the crime, be driven to ruin by the expense

 of attending trial at a place far from his home, nor that he be required to take refuge in jail

 because of an inability to meet the expense of attending trial.” Id. at *2. Therefore, he ordered

 that “the Government is obligated to provide either decent, non-custodial lodging or the cost of

 obtaining it.” Id. I agree that, under circumstances like those in the Pizza Connection trial,

 which lasted a year and a half, fundamental fairness dictates that the government should pay for

 the defendants’ lodging in the absence of any other source. But the Mendoza/Jones trial was

 scheduled to last less than two weeks. Though I considered it objectionable and inefficient, I did

 not think that placing the defendants in jail or in a halfway house during the trial would have

 violated the Constitution.

                The last potential source of funding, and the one in which I ultimately took refuge

 in this case, is the Criminal Justice Act, 18 U.S.C. § 3006A. The CJA requires each district court

 to operate “a plan for furnishing representation for any person financially unable to obtain

 adequate representation.” Id. Section 3006A(e)(1) allows counsel to be reimbursed for expert,

 investigative, or “other services necessary for an adequate representation.” Construed broadly,

 the term “other services” might be read to include lodging for a defendant during trial. Payment



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 for lodging for a defendant who would otherwise be homeless could be said to be necessary “for

 an adequate representation”; a defendant who sleeps on the streets is not going to be fit for a trial

 the next morning.4

                   Though this interpretation of the CJA’s language is admittedly tortured,5 I

 concluded that the only acceptable option in this case was to make use of the judiciary’s budget

 for criminal defense attorneys. In the end, I asked the defense attorneys to book their clients into

 a modestly-priced hotel for the duration of the trial, and to pay the hotel bills with their credit

 cards. I instructed the lawyers that they would be reimbursed from CJA funds. Mendoza and

 Jones stayed in a hotel in Brooklyn a subway ride away from the courthouse for the trial’s

 duration.6

                   It makes little sense to deputize defense counsel to carry this burden when the

 Marshals Service is otherwise responsible for ensuring the defendant’s presence in this court. It

 is obviously inefficient for the defendant’s lawyer to select a place to stay and negotiate the rate

 when the Marshals Service, which can bring economies of scale to bear on the matter, could do

 so. And defense counsel – many of whom are solo practitioners – should not be burdened with

 the up-front cost of providing an indigent defendant with temporary accommodation.

                   The lack of any judicial authority to require the Marshals to pay for lodging and

 subsistence in these circumstances is lamentable, and I am not the first to say so. As early as

 1993, the Prado Committee noted the lack of any provision for subsistence expenses, or even for

          4
                   Anecdotally, the Federal Defenders have, out of their own budget, paid for lodging for defendants
 or put defendants up in the YMCA during trial, likely for this very reason. See also United States v. Kahale, No. 09-
 cr-159 (KAM) (E.D.N.Y. Jan. 15, 2010) (approving disbursement of funds under § 3006A to provide
 accommodation for indigent defendants).
          5
                   Notably, it is difficult to square with the canons of interpretation discussed above: ejusdem generis
 and noscitur a sociis.
          6
                    The trial of Mendoza and Jones began on February 16, 2010; eight days later, the jury returned
 guilty verdicts. I have since sentenced Mendoza to three years’ probation. Jones awaits sentencing.


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 return travel. See Report of the Committee to Review the Criminal Justice Act of 1964,

 Recommendation D-2. The Committee quoted one defense attorney who stated that “[i]ndigent

 defendants arrested, transported thousands of miles from their home, and required to remain at

 the site of court at their own expense . . . must necessarily be under extreme pressure to give up

 their legal right to fully contest the case and instead plead ‘guilty’ out of hopelessness or

 frustration.” Id. Based on the Prado Committee’s recommendation, the Judicial Conference

 reported to Congress that “[t]he present lack of clear statutory authority to pay for [return] travel

 and subsistence . . . has resulted in substantial hardships to certain defendants.” Report of the

 Judicial Conference of the United States on Federal Defender Program, March 1993, at 35. The

 Judicial Conference recommended that 18 U.S.C. § 4285 “be amended to give the presiding

 judge discretion in appropriate circumstances to order that funds be provided to CJA eligble

 person for travel to and from court proceedings and related consultations and for subsistence

 during court and related proceedings.” Id.

                  More than seventeen years later, the gap remains unfilled, and until Congress fills

 it courts all over the country will be required to choose among the unsatisfactory solutions that

 were presented to me in this case. It makes the most sense to use the expertise and

 administrative structure already in place in the Marshals Service to deal with out-of-town

 witnesses to also deal with out-of-town defendants who cannot afford lodging and subsistence. I

 hasten to add that the specific provisions for each class of travelers need not be identical,7 but it

 seems clear that vesting the responsibility to make arrangements for both in one agency would be

 most efficient. In any event, whether through an amendment to 28 U.S.C. § 1821 or otherwise, I

 respectfully call upon Congress to enact a solution to the problem.

         7
                 For example, I am not suggesting that the defendants be entitled to lodging and subsistence at the
 federal government’s per diem rates, which would be unnecessarily high.

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                                                  John Gleeson, U.S.D.J.

 Dated:      August 26, 2010
             Brooklyn, New York




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